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A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                        FILED
                                                                                                                  EAST U.S. DISTRICT COURT
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                                                                                                                                            ERK
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             v.                                          (For Revocation of Probation or Supervised Release)
          RODRIGUEZ ANTONIO WILEY

                                                                         Case No. 4:06cr001 02-02 JM
                                                                         USM No. 24080-009
                                                                          Lisa Peters
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~admitted guilt to violation of condition(s)            Gen., Std and Special            of the term of supervision.
D was found in violation of condition(s)               _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                   Violation Ended
General                           Failure to report to the probation office w/i 72 hours                      11/06/2013
Standard 2                        Failure to report to the probation officer as directed                      04/03/2014
Standard 3                        Failure to follow instructions of the probation officer                     02/06/2014


       The defendant is sentenced as provided in pages 2 through _ __;:3;.__of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4914                       05/13/2014

Defendant's Year of Birth:           1975
                                                                                                       I
City and State of Defendant's Residence:                                                           Signature of Judge
Little Rock, Arkansas
                                                                          JAMES M. MOODY JR.                            U.S. District Judge
                                                                                                Name and Title of Judge

                                                                          05/13/2014
                                                                                                           Date
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AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet lA
                                                                                                Judgment-Page _ _.2.___ of    3
DEFENDANT: RODRIGUEZ ANTONIO WILEY
CASE NUMBER: 4:06cr001 02-02 JM

                                                        ADDITIONAL VIOLATIONS

                                                                                                                      Violation
Violation Number                 Nature of Violation                                                                  Concluded
Standard 6                        Failure to notify probation officer of change in employment                         01/01/2014

Standard 7                       Failure to refrain from use of a controlled substance                                03/14/2014
                           Case 4:06-cr-00102-JM Document 72 Filed 05/13/14 Page 3 of 3
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment- Page   --=3- of      3
  DEFENDANT: RODRIGUEZ ANTONIO WILEY
  CASE NUMBER: 4:06cr001 02-02 JM


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FIVE (5) MONTHS




     t/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in non-residential substance abuse treatment.
The defendant shall serve his term of imprisonment at Forrest City, Arkansas.


     D The defendant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:
            D     at   --------- D                   a.m.            D     p.m.    on
            D     as notified by the United States Marshal.

     t/ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ~ before 2 p.m. on _0_6_1_16_1_20_1_4_ _ _ _ __
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
